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 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                        )       No. CR-S-11-190 MCE
                                                      )
11                                                    )
               Plaintiff,                             )       STIPULATION REGARDING
12                                                    )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
13                                                    )       ORDER
     NICHOLAS RAMIREZ, et al.,                        )
14                                                    )       Date: August 21, 2014
                                                      )       Time: 9:00 a.m.
15             Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
                                                      )
16                                                    )
                                                      )
17
               The United States of America through its undersigned counsel, Jason Hitt, Assistant
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19   United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,

20   Esq. hereby stipulate to the following:
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          1. By previous order, this matter was set for status conference on August 21, 2014.
22
          2. By this stipulation, Manuel Keith now moves to continue the status conference until
23

24
     November 6, 2014 and to exclude time between August 21, 2014 and November 6, 2014 under

25   the Local Code T-2 and T-4.
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          3.   The parties agree and stipulate and request the Court find the following:
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     a. This case was the product of a lengthy investigation in which wiretaps were utilized
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 2      on multiple telephones. The government has produced discovery which to date

 3      includes 1,952 pages containing wiretap applications, periodic reports, and
 4
        investigative materials. Additionally, the government has provided defense counsel
 5
        with voluminous wiretap conversations. The government has submitted a plea
 6

 7
        agreement to counsel for Mr. Keith, which is being reviewed at the present time. Mr.

 8      Keith lives in Queens, New York. A continuance now will provide time for counsel
 9      for Mr. Keith to review the plea agreement with him and time for Mr. Keith to gather
10
        the funds and pay for a round trip airline ticket to Sacramento in order to attend court
11
        to enter his plea to the proffered “phone count.” Further, counsel for Mr. Keith is set
12

13      for trial in a murder case, commencing in mid-September, 2014, and needs time to

14      prepare for said trial.
15
     b. The Government does not object to the continuance.
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     c. Based on the above-stated findings, the ends of justice served by granting the
17
        requested continuance outweigh the best interests of the public and the defendant in a
18

19      speedy trial within the original date prescribed by the Speedy Trial Act.

20   d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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        Section 3161(h)(7)(A) within which trial must commence, the time period of August
22
        21, 2014 through November 6, 2014 inclusive, is deemed excludable pursuant to 18
23

24
        United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to

25      Local Code T-2 and T-4 because it results from a continuance granted by the Court at
26      defendant’s request on the basis of the Court’s finding that the ends of justice served
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                by taking such action outweigh the best interest of the public and the defendant in a
 1

 2              speedy trial.

 3     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
            Speedy Trial Act dictate that additional time periods are excludable from the period within
 5
            which a trial must commence.
 6

 7   IT IS SO STIPULATED.
 8
     DATED:         August 13, 2014                        BENJAMIN WAGNER
 9                                                         United States Attorney
10                                                         /s/ Jason Hitt
11
                                                  by
                                                           Jason Hitt
12                                                         Assistant U.S. Attorney
                                                           by Jan David Karowsky
13
                                                           w/ Mr. Hitt’s consent
14
     DATED:         August 13, 2014                        JAN DAVID KAROWSKY
15                                                         Attorney at Law
                                                           A Professional Corporation
16

17                                                         /s/ Jan Karowsky

18                                                by
                                                           JAN DAVID KAROWSKY
19
                                                           Attorney for Defendant
20                                                         Manuel Keith

21
                                                 ORDER
22

23
             IT IS SO ORDERED.
     Dated: August 13, 2014
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